                Case 24-21209-LMI       Doc 124      Filed 12/13/24     Page 1 of 6




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flmb.uscourts.gov

In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.1
                                                              Chapter 11
                Debtor.
                               /

       EXPEDITED MOTION BY CREDITOR, TACOS 2000, INC. FOR ORDER
    AUTHORIZING AND DIRECTING DEBTOR TO FILE CORRECTED WAGE AND
                     TAX STATEMENTS (FORM W-2C)

                Expedited hearing requested on December 16, 2024, at 9:30 a.m.

         Creditor, Tacos 2000, Inc. (“Tacos 2000”), hereby moves the Court for an order authorizing

and directing the Debtor to file Corrected Wage and Tax Statements (Form W-2C), and in support

thereof states as follows:

         1.     On November 18, 2024, ShiftPixy, Inc. (the “Debtors”) filed an Expedited Motion

for (I) Entry of an Order (A) Approving Certain Bidding Procedures and the Form and Manner of

Notice Thereof, (B) Scheduling an Auction and a Hearing on the Approval of the Sale of All of

Substantially All of the Debtors’ Remaining Assets, (C) Establishing Certain Assumption and

Assignment Procedures and Approving Manner of Notice Thereof, and (D) Scheduling a Hearing

to Approve Assumption and Assignment of the Assumed Contracts; (II) Entry of an Order (A)

Authorizing the Debtors’ Entry Into an Asset Purchase Agreement; and (B) Authorizing the Sale

of All or Substantially All of the Debtors’ Assets Free and Clear of All Encumbrances; (III) Entry

of an Order Approving the Assumption and Assignment of the Assumed Contracts; and (IV)

Related Relief (the “Sale Motion”) [Docket Entry No. 60].



1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
               Case 24-21209-LMI          Doc 124      Filed 12/13/24     Page 2 of 6




        2.      On December 4, 2024, this Court entered an Order on the Sale Motion and

scheduled a hearing on the sale and the assumption and assignment for December 16, 2024 at 9:30

a.m. [Docket Entry No. 97] and on December 5, 2024, this Court re-noticed the hearing on the

Motion to Determine to December 16, 2024 at 9:30 a.m. [Docket Entry No. 99] (the “Hearings”).

        3.      On December 11, 2024, the Debtor filed various other motions including a Motion

to Convert.

        4.      Creditor, Tacos 2000 Inc., was a customer of the Debtors’ payroll processing

business. As per the Social Security Administration (“SSA”), the Debtors, on behalf of Tacos 2000

filed 235 2019 Form W-2s in January 2020. A second set of 235 identical 2019 W-2’s was again

filed in February 2020.

        5.      Although 143 of the W-2s were determined to be duplicates based on the Social

Security Numbers contained thereon, the remaining 92 duplicated W-2’s have been double counted

resulting in an assessment by the IRS of a civil penalty in the amount of $253,784 since the wages

on file is much higher (a duplicate amount) of the wages reported on the 941 filings.

        6.      Tacos 2000, through its tax professionals, obtained the copies of both sets of the

W-2’s filed in January, 2020 and in February, 2020. 2 The tax professionals reviewed each set and

were unable to determine any discrepancies among the two filings concluding that the sets of W-

2’s are identical.

        7.      Despite multiple efforts to correct the issue with the SSA, the most efficient and

less costly alternative to correct the duplicated filings is to file Corrected Wage and Tax Statements

Forms W-2C for each of the prior filed W-2’s. A true and correct copy of a blank form W-2c is

attached as Exhibit A.


2
 True and correct copies of the two sets of 235 previously filed 2019 W-2’s obtained from the SSA by tax
professionals for Tacos 2000 were provided to Debtor’s counsel together with a copy of this Motion and
redacted forms may be made available upon request.

                                                   2
               Case 24-21209-LMI        Doc 124      Filed 12/13/24      Page 3 of 6




       8.      The first set of 235 Form W-2c’s must be filed to zero out the amounts on the

previously duplicated W-2’s by putting the W-2 filed amount in the “Previously Reported” column

and zero in the “Correct Information” column.

       9.      A second set of 235 Form W-2c’s must be filed to report zero in the “Previously

Reported” column and the previously filed W-2 amounts in the “Correct Information” column.

       10.     What otherwise appears to be a simple fix to be made by the Debtor who operates

a payroll processing business and has the information relating to the filed 2019 W-2’s in its system

will cost Tacos 2000 an estimated $200,000 to recreate the required Forms W-2C’s which must be

manually prepared.

       11.     The damage to Tacos 2000 of the duplicate filing of the 2019 W-2’s has caused the

IRS to assess a civil penalty against Tacos 2000 of $253,784.00 plus extensive fees and expenses

for legal and tax professionals incurred to date, due to the duplicate filings which can be easily

corrected.

       12.     Tacos 2000 and its affiliates Golden Taco, Inc., Century Tacos, Inc., Pacific Coast

Taco, Inc., and Los Angeles West Taco, Inc. have suffered additional harm from the Debtors’

failure to remit 940 and 941 tax withholdings sums to the IRS. As recently as December 10, Taco

2000’s affiliate, Los Angeles West Taco, Inc., received notices of levy by the IRS resulting

therefrom.

       13.     Consequently, this administrative correction requested to be performed by the

Debtor will at least permit Tacos 2000 to correct what is necessary to reverse the civil penalty in

the amount of $253,784.00 assessed against it by the IRS and will help avoid additional anticipated

fees and expenses required to manually correct the error if the Debtor fails to do so.

       14.     This relief is of an urgent nature given that the Debtor has sought to convert its case

to a case under Chapter 7.

                                                 3
               Case 24-21209-LMI        Doc 124      Filed 12/13/24   Page 4 of 6




       WHEREFORE, Sequor Law respectfully requests entry of an order authorizing and

directing the Debtor to: a) immediately prepare and file two sets of corrected 2019 Form W-2C’s

for Tacos 2000, Inc.; b) provide copies to undersigned counsel for Tacos 2000, Inc. of each set of

2019 Corrected Wage and Tax Statements (Form W-2C) together with proof of the filing of same;

and, c) for any further relief the Court deems just and proper.

       I HEREBY CERTIFY that a true and correct copy of the foregoing has served upon all

interested parties registered to receive notice via this Court’s CM/ECF electronic notification

system on December 13, 2024.

       Date: December 13, 2024                        Respectfully submitted,
                                                      SEQUOR LAW
                                                      1111 Brickell Avenue, Suite 1250
                                                      Miami, FL 33131
                                                      lflorin@sequorlaw.com
                                                      Telephone:     (305) 372-8282
                                                      Facsimile:     (305) 372-8202

                                                      By:    /s/ Leyza B. Florin
                                                             Leyza B. Florin
                                                             Florida Bar No.: 104639

24-21209-LMI Notice will be electronically mailed to:

Eyal Berger, Esq. on behalf of Creditor Sunz Insurance Solutions, LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Samuel J Capuano on behalf of Creditor Robert Angueira
scapuano@bergersingerman.com,
FSellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.courtdrive.com

Leyza Barbara Florin on behalf of Creditor Century Tacos, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Golden Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Los Angeles West Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

                                                 4
              Case 24-21209-LMI        Doc 124     Filed 12/13/24     Page 5 of 6




Leyza Barbara Florin on behalf of Creditor Pacific Coast Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Tacos 2000, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Daniel Gielchinsky on behalf of Debtor ShiftPixy, Inc.
dan@dgimlaw.com,
colleen@dgimlaw.com;dan_1836@ecf.courtdrive.com;eservice@dgimlaw.com

Dan L Gold on behalf of U.S. Trustee Office of the US Trustee
Dan.L.Gold@usdoj.gov

Samuel W Hess on behalf of Creditor Manny Rivera
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Samuel W Hess on behalf of Creditor Mark Absher
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Samuel W Hess on behalf of Creditor Scott Absher
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Erin M Hoskins on behalf of Creditor Robert Angueira
ehoskins@bergersingerman.com, efile@bergersingerman.com;efile@ecf.courtdrive.com

Isaac M Marcushamer, Esq. on behalf of Debtor ReThink Human Capital Management, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Debtor ShiftPixy Staffing, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Debtor ShiftPixy, Inc.
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Interested Party ReThink Human Capital Management,
Inc
isaac@dgimlaw.com,

                                               5
              Case 24-21209-LMI       Doc 124     Filed 12/13/24   Page 6 of 6




colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Interested Party ShiftPixy Staffing, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Charles J McHale on behalf of Creditor Balanced Management, LLC
cmchale@mgl.law

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Michael S Provenzale on behalf of Creditor Foundry ASVRF Sawgrass, LLC
michael.provenzale@lowndes-law.com, anne.fisher@lowndes-law.com;litcontrol@lowndes-
law.com

Bradley S Shraiberg on behalf of Creditor Manny Rivera
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg on behalf of Creditor Mark Absher
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg on behalf of Creditor Scott Absher
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Paul Steven Singerman, Esq on behalf of Creditor Robert Angueira
singerman@bergersingerman.com, efile@bergersingerman.com;efile@ecf.courtdrive.com

Raychelle A Tasher on behalf of Creditor United States of America Internal Revenue Service
Raychelle.Tasher@usdoj.gov, bridgett.moore@usdoj.gov;Shannon.Patterson@usdoj.gov




                                              6
